Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 1 of 8
Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 2 of 8
Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 3 of 8
Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 4 of 8
Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 5 of 8
Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 6 of 8
Case 2:18-bk-52964   Doc 39   Filed 05/10/21 Entered 05/10/21 12:01:21   Desc Main
                              Document     Page 7 of 8
Case 2:18-bk-52964         Doc 39    Filed 05/10/21 Entered 05/10/21 12:01:21     Desc Main
                                     Document     Page 8 of 8



                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                  COLUMBUS DIVISION

 In Re:                                          Case No. 2:18-bk-52964

 Sylvester Norris, Sr.
                                                 Chapter 13
 Rosa M. Norris

 Debtors                                         Judge John E. Hoffman, Jr.

                                   CERTIFICATE OF SERVICE

I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
electronically on May 10, 2021 through the Court’s ECF System on all ECF participants
registered in this case at the e-mail address registered with the Court

And by first class mail on May 10, 2021 addressed to:

          Sylvester Norris, Sr., Debtor
          1404 Harlow Road
          Columbus, OH 43227

          Rosa M. Norris, Debtor
          1404 Harlow Road
          Columbus, OH 43227


                                                 Respectfully Submitted,

                                                 /s/ Molly Slutsky Simons
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